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          Exhibit A
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From:            Siegel, Nathan
To:              Joseph Kroetsch
Cc:              Strom, Rachel; Amy Neuhardt; Sabina Mariella; Alexander Law; Levine, Amanda; Lachman, Sam
Subject:         RE: WE Charity v. CBC (22-00340-RDM)
Date:            Thursday, March 23, 2023 4:42:45 PM



CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize
the sender.




Dear Joseph,
 I am following up on our meet and confer conversations to respond to your proposal for discovery
to commence, limited to document discovery between the parties “with a scope similar to what
could be obtained under Ontario procedure.”
We have consulted with Ontario counsel and our client. Having done so, we think your proposal
actually confirms what our position has been - that no discovery should proceed pending the
resolution of the pending motion to dismiss.
That is because were this action to be filed in Ontario, this suit would be subject to Ontario’s anti-
SLAPP statute because the news reports at issue are “expression[s] by CBC “that relate[] to a matter
of public interest.” Courts of Justice Act, R.S.O. 1990, c.43 § 137.1(2). Should the action be filed
there, CBC reserves its right to file a motion to dismiss pursuant to that statute. Whenever such a
motion is made, the Ontario statute requires that “no further steps may be taken in the proceeding
by any party until the motion, including any appeal of the motion, has been finally disposed of.” Id. §
137.1(5). Pending the resolution of any anti-SLAPP motion in, the only discovery permitted would be
a total of seven hours of depositions (or “cross-examinations”) limited to the documentary evidence
already submitted by the parties in support of or in opposition to the motion. And should an anti-
SLAPP motion be filed and granted, there would never be any discovery at all in Ontario.
Proposing that the parties commence document discovery before the pending motion to dismiss is
decided is effectively asking CBC to prospectively waive its rights under the Ontario anti-SLAPP law,
at least to the extent that statute bars the same discovery you propose to commence here. CBC
does not consent to waive those rights.
While CBC believes there are additional reasons why commencing any discovery in this case at this
juncture would be inappropriate, which are well-supported by case law, there would appear to be
no need to further discuss your proposal. Your proposal’s premise is that party document discovery
would necessarily proceed in Ontario in the same manner that it would proceed here, should the
pending motion be denied. Because that premise is not correct, the appropriate course is to
maintain the status quo. Indeed, the fact that there is a stark potential difference between the two
jurisdictions on this very point is a compelling reason to maintain the status quo while CBC’s forum
non conveniens motion is still pending.
Regards,
Nathan
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From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
Sent: Tuesday, March 21, 2023 9:17 PM
To: Siegel, Nathan <NathanSiegel@dwt.com>
Cc: Strom, Rachel <RachelStrom@dwt.com>; Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina
Mariella <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>; Levine, Amanda
<AmandaLevine@dwt.com>; Lachman, Sam <SamLachman@dwt.com>
Subject: Re: WE Charity v. CBC (22-00340-RDM)

[EXTERNAL]

Hi Nathan, following up on our discussion on Friday, have you been able to connect with the CBC
regarding our proposal?

Joseph F. Kroetsch (he/him/his)
Partner

BOIES SCHILLER FLEXNER LLP
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(m) +1 914 772 6184
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www.bsfllp.com


From: "Siegel, Nathan" <NathanSiegel@dwt.com>
Date: Friday, March 17, 2023 at 10:43 AM
To: Joseph Kroetsch <jkroetsch@BSFLLP.com>
Cc: "Strom, Rachel" <RachelStrom@dwt.com>, Amy Neuhardt <aneuhardt@bsfllp.com>,
Sabina Mariella <SMariella@BSFLLP.com>, Alexander Law <alaw@bsfllp.com>, "Levine,
Amanda" <AmandaLevine@dwt.com>, "Lachman, Sam" <SamLachman@dwt.com>
Subject: RE: WE Charity v. CBC (22-00340-RDM)


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the sender.




Joseph,

Just to reiterate, since you made a proposal on our call today we will consider and discuss it with our
client and its counsel, as we think our obligation to meet and confer requires us to do. As we
discussed there are several reasons why CBC has objected to proceeding with any discovery pending
the outcome of the current motion, and our efforts to proceed in good faith to fulfill that obligation
are in no way intended to waive or diminish the basis for those objections.

Regards,
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Nathan     


From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
Sent: Friday, March 17, 2023 4:25 PM
To: Siegel, Nathan <NathanSiegel@dwt.com>
Cc: Strom, Rachel <RachelStrom@dwt.com>; Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina
Mariella <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>; Levine, Amanda
<AmandaLevine@dwt.com>; Lachman, Sam <SamLachman@dwt.com>
Subject: Re: WE Charity v. CBC (22-00340-RDM)

[EXTERNAL]

Nathan, it was good talking this morning and I’m cautiously optimistic we won’t need to burden the
Court with this dispute.

As we discussed, let’s see if it is possible for the parties to agree on initially limiting to discovery to:
(1) party discovery; (2) without depositions; (3) concerning the defamation claim; (4) with a scope
similar to what could be obtained under Ontario procedure. My understanding is that discovery in
Ontario would not be materially different from in D.C. federal court, but let’s see what your
Canadian co-counsel says and hopefully we can find a constructive path forward.

Joseph F. Kroetsch (he/him/his)
Partner

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(m) +1 914 772 6184
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From: "Siegel, Nathan" <NathanSiegel@dwt.com>
Date: Thursday, March 16, 2023 at 9:07 PM
To: Joseph Kroetsch <jkroetsch@BSFLLP.com>
Cc: "Strom, Rachel" <RachelStrom@dwt.com>, Amy Neuhardt <aneuhardt@bsfllp.com>,
Sabina Mariella <SMariella@BSFLLP.com>, Alexander Law <alaw@bsfllp.com>, "Levine,
Amanda" <AmandaLevine@dwt.com>, "Lachman, Sam" <SamLachman@dwt.com>
Subject: Re: WE Charity v. CBC (22-00340-RDM)

Call my cell 301 651 0728

Sent from my iPhone


       On Mar 17, 2023, at 2:59 AM, Joseph Kroetsch <jkroetsch@bsfllp.com> wrote:
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[EXTERNAL]

Let’s plan on 10am then. I’ll call your office.

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From: Siegel, Nathan <NathanSiegel@dwt.com>
Sent: Thursday, March 16, 2023 8:19:12 PM
To: Joseph Kroetsch <jkroetsch@BSFLLP.com>
Cc: Strom, Rachel <RachelStrom@dwt.com>; Amy Neuhardt <aneuhardt@bsfllp.com>;
Sabina Mariella <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>; Levine,
Amanda <AmandaLevine@dwt.com>; Lachman, Sam <SamLachman@dwt.com>
Subject: Re: WE Charity v. CBC (22-00340-RDM)

I’ll respond to your last question later, but on the timing just to move this along I could
be available anytime 9-11:30 am to call the clerk.

Sent from my iPhone


       On Mar 17, 2023, at 2:06 AM, Joseph Kroetsch <jkroetsch@bsfllp.com>
       wrote:

       [EXTERNAL]

       Nathan,

       Prior to receiving your email, I called chambers to ask whether the clerk
       would be willing to entertain a question about the judge's standing order.
       The clerk said that was fine, and to call back with opposing counsel. I
       therefore don't think there is any problem here asking the court whether
       our present dispute is a discovery dispute. (And if the court is upset about
       our asking, I'm happy to say I insisted.)

       I understand your position that our disagreement is a discovery dispute; in
       our view it is not a discovery dispute because we are not in discovery--if
       we were, there would be no dispute. Rule 26(d)(1) dictates the timing of
       discovery and, as you know, discovery does not begin until we engage in
       the Rule 26(f) meet and confer in which you have declined to participate.
        Because you have said you will not meet and confer without a scheduling
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    conference on the calendar, or a scheduling order due, the matter for the
    Court to decide is whether to set a date for a scheduling conference or
    scheduling order to be submitted. We do not think that is a discovery
    dispute. But ultimately, we will do whatever the Court prefers and view
    the simplest path forward to be a joint call to chambers to ask the clerk.

    I would ask you to reconsider and let me know when you are
    available tomorrow morning to call chambers about this question--i.e., is
    this a discovery dispute?

    As for your comments about our supposed attempts to silence the press,
    these statements continue to confuse me. How, precisely, would meeting
    and conferring on a discovery schedule under Rule 26(f) silence the press?

    Joseph F. Kroetsch (he/him/his)
    Partner
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    Armonk, NY 10504
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    jkroetsch@bsfllp.com
    www.bsfllp.com

    From: Siegel, Nathan <NathanSiegel@dwt.com>
    Sent: Thursday, March 16, 2023 1:39:01 PM
    To: Joseph Kroetsch <jkroetsch@BSFLLP.com>; Strom, Rachel
    <RachelStrom@dwt.com>
    Cc: Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina Mariella
    <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>; Levine,
    Amanda <AmandaLevine@dwt.com>; Lachman, Sam
    <SamLachman@dwt.com>
    Subject: RE: Re: WE Charity v. CBC (22-00340-RDM)


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    Joseph,

    We think our various exchanges of correspondence on this subject
    already make it abundantly clear where the “vindictiveness” and “malice”
    in this case lies. Your client’s efforts to use this litigation as a tool to try to
    threaten and silence the CBC’s conduct of any further journalism about
    WE Charity, which began shortly after filed this case and continues to this
    date, are quite plain.   And it would now appear that you intend to use the
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    discovery process to try to accomplish the same. CBC continues to
    reserve all remedies accordingly.

    With respect to procedure, it appears from your latest email that we are
    closer to agreement with respect to what the applicable rules provide.
    The rules of course do not prohibit parties from meeting and conferring
    about discovery, either now or at any time, should both parties choose to
    do so. But they likewise do not require that they do so at this point in this
    case, and we continue to believe that it would be premature to do so
    now. That is so for two reasons. First, the pending motion for forum non
    conveniens is a dispositive motion, since if it were granted the case would
    be dismissed and no discovery would be permitted. Second, for all the
    reasons I have stated in our correspondence concerning the CBC’s on-
    going journalism, the putative rationale you provide is not a legitimate
    basis for pursuing discovery. So in our view there continues to be good
    reason for discovery to be stayed, as it has been de facto for the past
    year.   

    We would not be comfortable joining a call with the Court’s chambers as
    you request, because we think that would contravene the Court’s
    Standing Order in this case. That Order states that “the parties may not
    contact chambers by telephone”, unless “extraordinary circumstances or
    emergencies so require”. We hope you will agree that this matter is
    neither.   Rather, the Order states that if the parties have a discovery
    dispute that they are unable to resolve informally, they should contact the
    Courtroom Deputy to arrange for a hearing. We hope that you will
    reconsider whether you want to continue to pursue this matter with the
    Court now, when the pending dispositive motion has been sub judice for
    more than three months. But if you do wish to pursue it, we would agree
    that we have been unable to resolve this informally, and would be willing
    to join a call with the Courtroom Deputy to arrange for a hearing.

    Regards,

    Nathan


    From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
    Sent: Wednesday, March 15, 2023 7:08 PM
    To: Siegel, Nathan <NathanSiegel@dwt.com>; Strom, Rachel
    <RachelStrom@dwt.com>
    Cc: aneuhardt@bsfllp.com; SMariella@BSFLLP.com; alaw@bsfllp.com;
    Levine, Amanda <AmandaLevine@dwt.com>; Lachman, Sam
    <SamLachman@dwt.com>
    Subject: Re: WE Charity v. CBC (22-00340-RDM)
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    [EXTERNAL]

    Further to the email below, please let me know when you have a few
    minutes to jointly call the Court’s chambers to inquire as to the Court’s
    preferred method of raising this issue (e.g., motion, letter, hearing). We
    view this as a question about the Court’s rules and preferences, not the
    substance of our dispute. Thank you.

    Joseph F. Kroetsch (he/him/his)
    Partner

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    Armonk, NY 10504
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    (m) +1 914 772 6184
    jkroetsch@bsfllp.com
    www.bsfllp.com


    From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
    Date: Wednesday, March 15, 2023 at 12:13 PM
    To: "Siegel, Nathan" <NathanSiegel@dwt.com>, "Strom, Rachel"
    <RachelStrom@dwt.com>
    Cc: Amy Neuhardt <aneuhardt@bsfllp.com>, Sabina Mariella
    <SMariella@BSFLLP.com>, Alexander Law <alaw@bsfllp.com>,
    "Levine, Amanda" <AmandaLevine@dwt.com>, "Lachman, Sam"
    <SamLachman@dwt.com>
    Subject: Re: WE Charity v. CBC (22-00340-RDM)

    Nathan,

    We disagree that meeting and conferring is unnecessary unless and until a
    scheduling conference is set or scheduling order is due; such dates merely
    dictate the latest dates by which such meeting and conferring must
    occur. Nothing prohibits the parties from meeting and conferring now, if
    CBC were willing to do so.  

    We are open to discussing a limited scope of discovery while the motion
    to dismiss is still pending, but as a forum non motion is not dispositive, we
    believe there is no basis to stay discovery. We ask that you please
    reconsider your position and, if you are willing to meet and confer, please
    let me know when you are available to discuss.

    Should you continue to object to meeting and conferring regarding
    discovery, we intend to ask the Court to set a Rule 16 scheduling
    conference or, in the alternative, set a date by which a scheduling order is
    due. Per your request, we will state that CBC opposes this request and
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    intends to file an opposition.  

    You say in your email below that the parties “informally agreed not to
    commence discovery while the motions were pending.” We are aware of
    no such agreement and you cite none.

    We seek to commence discovery now because it has become clear to us
    that CBC has already begun unilaterally conducting discovery under the
    guise of journalism. Irrespective of whether CBC intends to publish the
    results of such journalism, the CBC is conducting de facto discovery for its
    defense in this action. Mr. Cashore has been contacting individuals and
    organizations that the CBC identified to the Court as potential witnesses
    in its forum non motion, asking them questions concerning the subject
    matter of this litigation. We are not trying to interfere with what CBC will
    doubtlessly claim is legitimate journalism. But we do believe it is
    improper to ask WE Charity to sit on its hands while CBC gets a head start
    on discovery.  

    We also are concerned that CBC’s ersatz discovery through Mr. Cashore
    risks compromising the discovery record and WE Charity’s access to
    nonparty witnesses willing to voluntarily provide discovery materials. Mr.
    Cashore has been contacting third parties about WE Charity’s funding of
    schools by telling them that he is producing another documentary on the
    subject and then requesting information and/or evidence. This has an
    obvious coercive effect; no normal person wants to be named and
    shamed on The Fifth Estate. It also incentivizes potential witnesses to
    distance themselves from WE Charity because Mr. Cashore’s bias and
    track record of false reporting on WE Charity is no secret. By commencing
    discovery in this case, we hope that CBC will revert to engaging in the
    normal mechanics of the discovery process.  

    Of course, it goes without saying that Mr. Cashore and the CBC’s ongoing
    conduct is the very definition of “malice” and will be used as evidence for
    punitive damages in this litigation. The CBC’s actions are vindictive and
    cannot be based on any good faith belief in the truthfulness or
    newsworthiness of further reporting on WE Charity. But as it seems CBC
    is content to increase its liability exposure, we will again ask that CBC
    continue preserving all records relating to its latest reporting on WE
    Charity.

    Best,
    Joseph

    Joseph F. Kroetsch (he/him/his)
    Partner
Case 1:22-cv-00340-RDM Document 29-2 Filed 04/07/23 Page 10 of 13


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     (m) +1 914 772 6184
     jkroetsch@bsfllp.com
     www.bsfllp.com


     From: "Siegel, Nathan" <NathanSiegel@dwt.com>
     Date: Friday, March 10, 2023 at 12:23 PM
     To: Joseph Kroetsch <jkroetsch@BSFLLP.com>, "Strom, Rachel"
     <RachelStrom@dwt.com>
     Cc: Amy Neuhardt <aneuhardt@bsfllp.com>, Sabina Mariella
     <SMariella@BSFLLP.com>, Alexander Law <alaw@bsfllp.com>,
     "Levine, Amanda" <AmandaLevine@dwt.com>, "Lachman, Sam"
     <SamLachman@dwt.com>
     Subject: RE: WE Charity v. CBC (22-00340-RDM)


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     Joseph,

     Local Rule 16.3(a) is quite clear – the need/obligation to meet and confer
     is triggered by either a scheduling conference being set or a scheduling
     order being due. Neither has happened in this case. Moreover, the
     Complaint was served more than a year ago. If there really had been a
     duty to meet and confer about a discovery plan, then both of us would
     have theoretically been in default for the better part of a year. Which is
     not the case. And that is all apart from the fact that we informally agreed
     not to commence discovery while the motions were pending, as
     evidenced by the fact that this is the first time in more than a year that
     you have made this request.     

     We continue to believe that it would not be appropriate to begin the
     discovery process while the Court is deciding whether the case should be
     dismissed. So in the absence of any scheduling conference or scheduling
     order being set or due, any meet and confer call would be premature.
     Should you decide to request a conference, we would oppose that for
     these reasons. If you decide to make that request, we would appreciate it
     if you let us know so that we will have the opportunity to explain our
     position to the Court.
Case 1:22-cv-00340-RDM Document 29-2 Filed 04/07/23 Page 11 of 13


     Regards,

     Nathan


     From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
     Sent: Thursday, March 9, 2023 8:03 PM
     To: Siegel, Nathan <NathanSiegel@dwt.com>; Strom, Rachel
     <RachelStrom@dwt.com>
     Cc: Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina Mariella
     <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>
     Subject: Re: WE Charity v. CBC (22-00340-RDM)

     [EXTERNAL]

     Nathan,

     I am happy to clarify. We are requesting a time when you are available to
     meet and confer, as opposing parties have a duty to do, before proposing
     a discovery plan and requesting the Court set a scheduling conference.

     Under Local Rule (“LCvR”) 16.3(a), counsel “must confer in accordance
     with this Rule and Fed. R. Civ. P. 26(f) at least 21 days before a scheduling
     conference is held or a scheduling order is due under Fed. R. Civ. P. 16(b)
     to: (1) Discuss the matters set forth in LCvR 16.3(c); (2) Make or arrange
     for disclosures required by Fed. R. Civ. P. 26(a)(1); and (3) Develop a
     discovery plan that indicates the parties' views and proposals.”

     Fed. R. Civ. P. 26(f) requires parties to conference “the parties must
     confer as soon as practicable—and in any event at least 21 days before a
     scheduling conference is to be held or a scheduling order is due under
     Rule 16(b).”

     Please let us know your availability to meet and confer. Thank you.

     Best,
     Joseph

     Joseph F. Kroetsch (he/him/his)
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     jkroetsch@bsfllp.com
     www.bsfllp.com
Case 1:22-cv-00340-RDM Document 29-2 Filed 04/07/23 Page 12 of 13


     From: Siegel, Nathan <NathanSiegel@dwt.com>
     Sent: Thursday, March 9, 2023 5:46:29 PM
     To: Joseph Kroetsch <jkroetsch@BSFLLP.com>; Strom, Rachel
     <RachelStrom@dwt.com>
     Cc: Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina Mariella
     <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>
     Subject: RE: WE Charity v. CBC (22-00340-RDM)


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     Joseph,

     We’re a little unclear about what you are asking us for. Are you saying
     you intend to make a request to the Court to set a scheduling
     conference?

     Thanks,

     Nathan


     From: Joseph Kroetsch <jkroetsch@BSFLLP.com>
     Sent: Thursday, March 9, 2023 2:19 PM
     To: Siegel, Nathan <NathanSiegel@dwt.com>; Strom, Rachel
     <RachelStrom@dwt.com>
     Cc: Amy Neuhardt <aneuhardt@bsfllp.com>; Sabina Mariella
     <SMariella@BSFLLP.com>; Alexander Law <alaw@bsfllp.com>
     Subject: WE Charity v. CBC (22-00340-RDM)

     [EXTERNAL]

     Nathan and Rachel,

     Under FRCP 26(f) and applicable local rules, we are requesting a discovery
     conference. What is your availability over the next week to meet and
     confer?

     Best,
     Joseph


     Joseph F. Kroetsch (he/him/his)
     Partner

     BOIES SCHILLER FLEXNER LLP
         Case 1:22-cv-00340-RDM Document 29-2 Filed 04/07/23 Page 13 of 13


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                    the sender by replying to this electronic message and then deleting this electronic message from your computer.
                    [v.1 08201831BSF]

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                    [v.1 08201831BSF]

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